      Case 1:21-cv-07955-LAK          Document 84   Filed 06/08/23   Page 1 of 5




                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF NEW YORK


MARVEL CHARACTERS, INC.,                      Case No.: 1:21-cv-7955-LAK
                                              and consolidated cases
                      Plaintiff,              21-cv-7957-LAK and 21-cv-7959-LAK

       v.

LAWRENCE D. LIEBER,

                      Defendant.

LAWRENCE D. LIEBER,                            JOINT STIPULATION AND
                                               [PROPOSED] ORDER REGARDING
                      Counterclaimant,         PRETRIAL SCHEDULE

       v.

MARVEL CHARACTERS, INC., and DOES
1-10, inclusive,

                   Counterclaim-Defendants.

MARVEL CHARACTERS, INC.,

                      Plaintiff,

       v.

PATRICK S. DITKO, in his capacity as
Administrator of the Estate of Stephen J.
Ditko,

                      Defendant.

PATRICK S. DITKO, in his capacity as
Administrator of the Estate of Stephen J.
Ditko,

                      Counterclaimant,

       v.

MARVEL CHARACTERS, INC. and DOES
1-10, inclusive,

                   Counterclaim-Defendants.
        Case 1:21-cv-07955-LAK           Document 84     Filed 06/08/23      Page 2 of 5




 MARVEL CHARACTERS, INC.,

                         Plaintiff,

         v.

 KEITH A. DETTWILER, in his capacity as
 Executor of the Estate of Donald L. Heck,

                         Defendant.

 KEITH A. DETTWILER, in his capacity as
 Executor of the Estate of Donald L. Heck

                         Counterclaimant,
         v.

 MARVEL CHARACTERS, INC. and DOES
 1-10, inclusive,

                      Counterclaim-Defendants.

                                          STIPULATION

        Plaintiff and Counterclaim-Defendant Marvel Characters, Inc. (“Marvel”) and

Defendants and Counterclaimants Lawrence D. Lieber, Patrick S. Ditko, and Keith A. Dettwiler

(collectively, the “Parties”) stipulate as follows:

        WHEREAS, for the above three referenced cases (which have been consolidated for

pretrial purposes), the Court ordered that oppositions to the Parties’ cross-motions for summary

judgment are due on or before June 16, 2023, and that Defendants-Counterclaimants’ opposition

to Marvel’s motion to exclude the expert testimony of Mark Evanier is due on or before June 11,

2023;

        WHEREAS, Defendants-Counterclaimants’ counsel, Marc Toberoff, is experiencing

health complications from recent medical surgeries which will severely limit his ability to work

on Defendants-Counterclaimants’ opposition and reply papers;

        WHEREAS, in light of Mr. Toberoff’s present medical challenges, Defendants-

Counterclaimants have asked Marvel to agree to an extension of the briefing deadlines;




                                                 -2-
        Case 1:21-cv-07955-LAK          Document 84        Filed 06/08/23      Page 3 of 5



       WHEREAS, Marvel has advised Defendants-Counterclaimants that it agrees to the

requested extension subject to approval of the Court;

       WHEREAS, the Parties further agree to an extension for their joint pretrial order, given

that the Parties’ cross-motions for summary judgment may moot the need for such filing;

       WHEREAS, the Parties appreciate the importance of maintaining the steady progress of

these cases, and are doing their utmost to balance that concern with the aforementioned obstacles

outside their control.

       Based on the foregoing, IT IS HEREBY STIPULATED by and between the Parties,

through their respective counsel of record, subject to the Court’s approval, that:

       1.      The deadline for Defendants-Counterclaimants to submit an opposition to

               Marvel’s motion to exclude the expert testimony of Mark Evanier shall be

               continued to Sunday, June 25, 2023

       2.      The deadline to submit oppositions to the Parties’ cross-motions for summary

               judgment shall be continued to Friday, June 30, 2023.

       3.      The deadline for Marvel to submit a reply in support of its motion to exclude the

               expert testimony of Mark Evanier shall be continued to Friday, July 21, 2023.

       4.      The deadline to submit replies in support of the Parties’ cross-motions for

               summary judgment shall be continued to Friday, July 28, 2023.

       5.      The Parties’ deadline to submit a joint pretrial order shall be continued to Friday,

               October 27, 2023.




                                                -3-
  Case 1:21-cv-07955-LAK   Document 84   Filed 06/08/23     Page 4 of 5



Dated: June 8, 2023               O’MELVENY & MYERS LLP


                                  By:       /s/ Daniel M. Petrocelli
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                                  Attorneys for Marvel Characters, Inc.



Dated: June 8, 2023               TOBEROFF & ASSOCIATES, P.C.


                                  By:          /s/ Marc Toberoff
                                                 Marc Toberoff

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                                -4-
      Case 1:21-cv-07955-LAK   Document 84   Filed 06/08/23   Page 5 of 5




SO ORDERED:



___________________________
Hon. Lewis A. Kaplan
United States District Judge

DATE:_________________




                                    -5-
